                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                             Plaintiff,
                                                    Case No. 21-03016-01-CR-S-BCW
              v.

 PATRICIA ASHTON DERGES,

                              Defendant.

                         PRELIMINARY ORDER OF FORFEITURE

       This matter is before the Court on the Motion of the United States for a Preliminary Order

of Forfeiture. In the Amended Notice of Bill of Particulars for Forfeiture of Property filed on April

13, 2021, the United States gave notice of its intent to forfeit the following property: approximately

$287,565.33 in United States currency seized from a Great Southern Bank Account, ending in

4503, in the name of Ozark Valley Medical Clinic LLC, on or about March 24, 2021, an account

controlled by Patricia Ashton Derges. (D.E. 27.)

       On June 27, 2022, a jury found the defendant, Patricia Ashton Derges, guilty of, inter alia,

Count One through Eight and 21 through 23 of the Superseding Indictment. The jury also

determined that the United States established the requisite nexus between the above-described

property and the offenses committed by the defendant. (D.E. 82.)

       The Court has determined, based upon the evidence set forth in the jury's special verdict

the United States has established the requisite nexus between the property described herein and in

the Forfeiture Allegation of the Superseding Indictment and the offenses to which the defendant

has been found guilty.




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       By virtue of the guilty verdict and the jury=s finding of the requisite nexus between the

above-described property and the offenses committed by the defendant, the United States is now

entitled to a Preliminary Order of Forfeiture and to possession of the property pursuant to Title 18,

United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461.

       Accordingly, it is hereby ORDERED:

       1.      Based upon the guilty verdict and the jury=s determination that the property is

subject to forfeiture and Amended Notice and Bill of Particulars for Forfeiture of Property, the

above-described property is hereby forfeited to the United States for disposition in accordance

with the law, subject to the provisions of Title 21, United States Code, Section 853(n). (third party

provisions).

       2.      Upon entry of this Order, the United States Attorney General or his designee is

authorized to seize the above-described property in accordance with Fed. R. Crim. P. 32.2(b)(3).

       3.      Pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461, the United States shall publish for at least 30 consecutive days on the

government=s official website, www.forfeiture.gov, notice of the Preliminary Order of Forfeiture,

notice of the United States= intent to dispose of the property in such manner as the Attorney General

may direct, and notice that any person, other than the defendant, Patricia Ashton Derges, having

or claiming a legal interest in the above-described property must file a petition with the Court (and

serve a copy on Shannon T. Kempf, Assistant United States Attorney), within thirty (30) days of

the final publication of notice or of receipt of actual notice, whichever is earlier.

       This notice shall state that the petition shall be for a hearing to adjudicate the validity of

the petitioner's alleged interest in the property, shall be signed by the petitioner under penalty of




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perjury and shall set forth the nature and extent of the petitioner's right, title or interest in the

forfeited property and any additional facts supporting the petitioner's claim and the relief sought.

       The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in the property that is the subject of this Preliminary

Order of Forfeiture, as a substitute for published notice as to those persons so notified.

       4.      Pursuant to Fed. R. Crim. P. 32.2(b)(4), this Preliminary Order of Forfeiture shall

become final as to the defendant at the time of sentencing (or before if the defendant consents) and

shall be made part of the sentence and included in the judgment.

       5.      Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture in which all interests will be addressed.


                                                  /s/ Brian C. Wimes
                                                  BRIAN C. WIMES
                                                  United States District Judge

       Dated: August 23, 2022




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